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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


DONALD J. TRUMP, in his capacity as
the 45th President of the United States,

       Plaintiff,

              v.
                                              Civil Action No. 21-2769
BENNIE G. THOMPSON, in his official
capacity as Chairman of the United States
House Select Committee to Investigate
the January 6th Attack on the United States
Capitol; THE UNITED STATES HOUSE
SELECT COMMITTEE TO INVESTIGATE
THE JANUARY 6TH ATTACK ON THE
UNITED STATES CAPITOL; DAVID S.
FERRIERO, in his official capacity as
Archivist of the United States; and THE
NATIONAL ARCHIVES AND RECORDS
ADMINISTRATION,

       Defendants.


                      REPLY IN SUPPORT OF PLAINTIFF’S
                    MOTION FOR A PRELIMINARY INJUNCTION
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      Our constitutional framework is firmly rooted in the separation of powers. In

their respective briefs, Defendants argue for unfettered legislative power to seek

limitless categories of presidential records. Likewise, they also seek expansive

recognition for an incumbent president to waive the executive privilege of his

predecessor, broadly and indiscriminately. Indeed, the Executive Branch Defendants

discount the well-established right of former presidents to meaningfully challenge a

blanket waiver of executive privilege by an incumbent president in court. Defendants

are mistaken.

      Congressional requests for presidential records must be limited so that each

request is tailored to obtain documents related to a legitimate legislative purpose.

Here, the Committee failed to do so. Likewise, an incumbent president’s waiver of his

predecessor’s executive privilege is subject to full and thorough judicial review. The

Executive Branch Defendants attempt to limit that review by incorrectly encouraging

the Court to authorize the waiver simply by disclosing broad categories of documents.

Instead, the Court must thoroughly review, in camera, the documents and

communications at issue before authorizing the waiver. This Court should refuse to

allow Defendants’ naked political ploy and preserve the institution of the presidency.


                                  BACKGROUND

      Demonstrating that they have already prejudged the facts and circumstances

of January 6, 2021, Defendants focus much of their respective briefs recounting the

event, see Cong. Defs.’ Opp’n to Pl.’s Mot. for Preliminary Injunction (“Committee

Br.”) at 1, 3-11; NARA Defs’. Mem. in Opp’n to Pl.’s Mot. for Preliminary Injunction

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(“NARA Br.”) at 1, 7-9, 17-20, including their conclusory allegations and assumptions

that the President and his senior staff were part of a conspiracy to cause violence at

the Capitol.1

         Notwithstanding   their   allegations       and   insinuations   of    conspiracy,

investigations by the F.B.I. and the Senate Committee on Government Affairs and

Homeland Security rebuff their contentions of wrongdoing by Trump Administration

officials. “The FBI has found scant evidence that the Jan. 6 attack on the U.S. Capitol

was the result of an organized plot to overturn the presidential election result.” Mark

Hosenball and Sarah N. Lynch, Exclusive: FBI finds scant evidence U.S. Capitol

attack          was     coordinated,       REUTERS            (Aug.       20,       2021),

https://www.reuters.com/world/us/exclusive-fbi-finds-scant-evidence-us-capitol-

attack-was-coordinated-sources-2021-08-20/.

         Similarly, a Senate investigation of the events on January 6 “found a broad

intelligence breakdown across multiple agencies, along with widespread law

enforcement and military failures that led to the violent attack,” and never faulted

anyone at the White House. Mary Clare Jalonick, Senate report details broad failures

around Jan. 6 attack, AP NEWS (June 8, 2021), https://apnews.com/article/donald-

trump-capitol-siege-government-and-politics-96054d62518a7be4c3f30231f51beaf5.

The entire justification for the Committee’s fishing expedition is meritless.




         1 Defendants breathlessly claim that President Trump “waged . . . battle,”

“targeted the Department of Justice,” and imply that President Trump orchestrated
and directed violence with no evidentiary basis to support such a claim. Committee
Br. at 6-7.

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        The Committee’s bias is far from surprising, given that the Democrats

appointed every single member. For purposes of determining whether the

Committee’s request has a valid legislative purpose, the Court should carefully

examine the Committee’s charter and its request to NARA in the context of

constitutional and judicial precedent.


                                     ARGUMENT

   I.      President Trump’s Likelihood of Success on the Merits

        A. The Mazars Factors Apply to this Case

        Defendants contend that the framework outlined by the Supreme Court in

Mazars does not apply to the Committee’s request because President Trump’s term

of office has expired. Instead, they contend that his sole relief is limited to the

balancing test adopted in Nixon v. Admin. of Gen. Serv. (“GSA”). See Committee Br.

at 31-39; NARA Br. at 22-23. Not so.

        As was the case in Mazars, the Committee is not engaged in a “run-of-the-mill

legislative effort,” rather they are hunting for the presidential records of a political

rival implicating “intense political interest for all involved.” Trump v. Mazars USA,

LLP, 140 S. Ct. 2019, 2034 (2020). Congress’s efforts to obtain records created during

President Trump’s term of office implicates the same separation of powers concerns

adjudicated just last year by the Supreme Court.

        The test in Mazars is applicable here because every information request made

by Congress for presidential records, whether via statutory process or subpoena,

implicates the separation of powers and must comply with the strictures of the

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Constitution, as outlines by the Mazars Court. See Mazars, 140 S. Ct. at 2034-35.

Defendants’ claim that a statute that was passed with bicameralism and presentment

can somehow vitiate constitutional limits on Congress’s power to request information

is wrong. NARA Br. at 23; Committee Br. at 34. Regardless of the form, compulsory

or via statute, congressional requests must comply with the Constitution. Id.

      Recently,   Judge    Mehta    acknowledged     that   “separation   of    powers

considerations do not entirely disappear merely because the entanglement is between

Congress and a former President” in a case involving a congressional request for

presidential records. Trump v. Mazars USA, LLP, No. 19-cv-01136, 2021 WL

3602683, *52 (D.D.C. Aug. 11, 2021).2 The court reasoned that “the remaining

separation of powers concern at issue [with former Presidents] involves the threat of

a post-presidency congressional subpoena for personal information in order to

influence how the sitting President treats Congress while in office.” Id. at 13.

Moreover, the Supreme Court has “reject[ed] the argument that only an incumbent

President may assert” separation-of-powers claims. Nixon v. GSA, 433 U.S. 425, 439

(1977). The court further reasoned that the separation of powers concerns discussed

in Nixon and Mazars counseled in favor of invalidating the request to President

Trump. Id. at *53 (“The risk of unnecessary intrusion into the operation of the Office


      2  NARA incorrectly argues that because his term of office has expired,
President Trump is somehow limited in the arguments he may make challenging the
Committee’s request. NARA Br. at 13-15. That argument was rejected by Judge
Mehta when he considered the Mazars case on remand, holding that “[a]s the
Supreme Court held in Nixon v. GSA, separation of powers considerations do not
entirely disappear merely because the entanglement is between Congress and a
former President.” Mazars, 2021 WL 3602683, *13.

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of the President increases with a subpoena’s breadth and intrusiveness. The more

Congress can invade the personal sphere of a former President, the greater the

leverage Congress would have on a sitting President.”) (cleaned up). At minimum,

then, the separation of powers concerns outlined in Nixon and applied to

congressional requests in Mazars confirm that the test in Mazars is applicable here.

      The Committee also contends that Mazars does not apply because the

Committee is not seeking the personal records of the President, see Committee Br. at

34. But the Supreme Court in Mazars held that if the request sought Oval Office and

other White House records, as opposed to simply personal records, then an even

higher standard should apply. Mazars, 140 S. Ct. at 2031-32.

      B. Defendants’ Test for Determining Whether a Congressional Request Has a
         Valid Legislative Purpose Lacks a Limiting Principle

      The Committee’s request lacks a valid legislative purpose because Defendants’

stated rationale lacks a limiting principle. Defendants effectively suggest that

Congress has plenary power to request any information, from any party, at any time.

They claim that the Committee’s request here has a valid legislative purpose simply

because the subject of the request was one on which legislation “could be had” or “may

be had.” Committee Br. at 18 (quoting McGrain v. Daugherty, 273 U.S. 135, 174

(1927)); NARA Br. at 18. The Supreme Court soundly rejected this argument barely

a year ago. Mazars, 140 S. Ct. at 2034 (rejecting Congress’s approach because it

aggravated separation of powers principles by eschewing any limits on the power to

subpoena Presidential records).




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      Instead, the test for congressional requests is more demanding. A

congressional request “is valid only if it is related to, and in furtherance of, a

legitimate task of the Congress.” Mazars, 140 S. Ct. at 2031 (cleaned up). Congress

has no “general power to inquire into private affairs and compel disclosures,” and

“there is no congressional power to expose for the sake of exposure.” Id. (cleaned up).

Because “legislation concerning the Presidency raises sensitive constitutional issues,”

Congress must “adequately identif[y] its aims and explain[] why the President’s

information will advance its consideration of the possible legislation.” Id. at 2035. The

Committee’s failure to do so here is fatal to its request.3

      Further, if Defendants are correct that the Committee has plenary authority

to request the President’s records to investigate any issue it pleases, then it has the

same limitless power to request the records of other executive-branch officials,

members of Congress, and the federal judiciary. Defendants are wrong. Congress has

no freestanding oversight or investigative power; those powers are “justified solely as

an adjunct to the legislative process,” and they may not be deployed to pursue

measures that exceed Article I’s limitations. Watkins v. United States, 354 U.S. 178,

197, 187 (1957). Further, the Committee is not immune from having its purposes

challenged; courts can and should assess its stated, contemporaneous purposes to

determine whether they are legitimate or unlawful. Shelton v. United States, 404

F.2d 1292, 1297 (D.C. Cir. 1968). President Trump can challenge the request’s


      3 The regulations and jurisdictional requirements of the PRA are in alignment

with the Mazars test requiring requests be pertinent to the business of Congress. See
44 U.S.C. § 2205; 36 C.F.R. § 1270.44.

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pertinency and overbreadth; under governing law, requests must always be

“reasonably relevant” to a legitimate legislative purpose. McPhaul v. United States,

364 U.S. 372, 381-82 (1960) (cleaned up).

      C. Defendants’ Post-Hoc, Pretextual Legislative Purposes Are Not Valid and
         Do Not Justify the Committee’s Sweeping Request in Support of a De Facto
         Law Enforcement Investigation

      Setting aside Defendants’ faulty standard for judging the constitutionality of

congressional requests, the stated post-hoc justification for the request is not a valid

legislative purpose and is invoked by the Committee to disguise the improper law

enforcement function of its investigation. The Committee claims that its request

serves a “clear legislative purpose: to understand the facts and causes surrounding

the January 6 attack to develop legislation and other measures that will protect our

Nation from a similar assault in the future.” Committee Br. at 1. The NARA

Defendants claim a similar legislative purpose. See NARA Br. at 17-18.

      The recitation of this aim fails to meet the mark because it is untethered from

the broad requests at issue. Indeed, Defendants have failed to “adequately identif[y]

[the Committee’s] aims and explain[] why the President’s information will advance

its consideration of the possible legislation.” Mazars, 140 S.Ct. at 2036. The stated

purpose does not even identify any proposed legislation. The Defendants’ claim that

it could pass legislation after it reviews the President’s records proves too much. See,

e.g., NARA Br. at 18. If Congress can justify a law-enforcement investigation by

asserting that it could pass remedial legislation if it does not like what it finds,




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Congress would have unfettered discretion to invade the province of the executive

and judicial branches at will.

      The Committee’s brief provides multiple examples of areas where potential

legislation could be had. Committee Br. at 20.       The hypothetical examples and

reasoning, however, fail to explain the Committee’s need for the specific information

sought. Members of the Committee have already concluded that the former President

is responsible, no matter what the evidence says. They can legislate accordingly, or

they must explain why each item requested would be material to any decision they

intend to make.

      The Supreme Court has made clear that when Congress is seeking privileged

presidential records, like those requested by the Committee, and soon to be produced

to NARA, it must establish a “‘demonstrated, specific need’ for the . . . information.”

Mazars, 140 S. Ct. 2031 (quoting United States v. Nixon, 418 U. S. 683, 713 (1974)).

Further, the Committee “must show that the . . information is ‘demonstrably critical’

to its legislative purpose.” Id. (quoting Senate Select Committee on Presidential

Campaign Activities v. Nixon, 498 F.2d 725, 731 (D.C. Cir. 1974)).

      The Committee admits it is their belief that the “Select Committee needs the

requested information to reconstruct the extraordinary events of that day.”

Committee Br. at 27. The D.C. Circuit rejected such an approach when it explained

that Congress’s legislative tasks differ from that of a grand jury, or other

investigative bodies. Instead, “[w]hile fact-finding by a legislative committee is

undeniably a part of its task, legislative judgments normally depend more on the



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predicted consequences of proposed legislative actions and their political

acceptability, than on precise reconstruction of past events.” Senate Select Comm. on

Presidential Campaign Activities v. Nixon, 498 F.2d at 732.

      Of course, Congressional “interest in past illegality can be wholly consistent

with an intent to enact remedial legislation.” Trump v. Mazars, USA, LLP, 940 F.3d

710, 728 (D.C. Cir. 2019) (emphasis added). It just happens not to be in the instance

at hand. Calling it “absurd” to say that any legislative decisions could be made

without access to clearly privileged materials does not make it so; Congress has yet

to identify a single decision that would turn on any document or communications they

have requested.

      Likely cognizant of the missing legislative purpose in the request itself, the

Committee and the NARA Defendants attempt, but fail, to cobble together disparate,

post-hoc rationales to justify the Committee’s request. Committee Br. at 19-20; NARA

Br. at 17-22. None of these identified purposes were included in the contemporaneous

request or constitute valid legislative aims. Defendants’ kitchen-sink approach to

justify their overbroad records request highlights its unconstitutionality.

      First,   the   Committee’s    claim    that   its   “investigation   may   yield

recommendations as to whether and how Congress should pass legislation to revise

the mechanics of the electoral counting,” Committee Br. at 20 (emphasis added), fails

to explain how “the President’s information will advance its consideration of [any]

possible legislation.” Mazars, 140 S.Ct. at 2035. There is no reason why Congress

would need the sheer level of detail about the President’s activities that the request



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demands to possibly enact unqualified legislation regarding how Congress counts

electoral votes. As discussed in President Trump’s opening brief, the request seeks

records wholly unrelated to the events of January 6 at the United States Capitol.

      Second, the Committee states that “Congress may wish to enhance the legal

consequences for any . . . dereliction of duty by a President.” Committee Br. at 20.

Congress can already pass such legislation today, without the requested information,

and is not permitted to investigate the President as a “case study” for general

legislation. Mazars, 140 S. Ct. at 2035. Further, many of the Committee’s requests

seek records that do not involve the President or the events of January 6 at all.

      The third legislative purpose cited by the Committee, to investigate the

President regarding his interactions with the Department of Justice in the hopes of

creating “legislative recommendations for how to prevent a future President from

enlisting federal resources,” Committee Br. at 20, fails to identify a single piece of

proposed   or   anticipated   legislation   and    speculates   regarding   presidential

wrongdoing. This is improper and fails to explain how “the President’s information

will advance its consideration of the possible legislation.” Mazars, 140 S. Ct. at 2035.

      Finally, the Committee opaquely references laws regarding the President’s

interactions with state election officials but similarly fails to explain what laws the

Committee is considering or how the President’s information would actually inform

legislation on that topic. Committee Br. at 20. This failure precludes President Trump

and this Court from properly evaluating the Committee’s actual need for any specific

records and dooms the request.



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           1.     The Committee and NARA Failed to Explain a Valid Legislative
      Purpose to Support the Request

      Each of the Committee’s alleged legislative purposes suffers from multiple

additional flaws. The Committee has effectively requested every document created in

the White House on January 6, regardless of its relation to the events of that day.

But the Committee fails to identify which specific requests serve which, if any, of the

claimed legislative purposes. Where Congress issues broad requests that “ask for

everything under the sky,” the burden should not be placed on the President of

“critiquing the unacceptable discovery requests line by line.” Cheney v. U.S. Dist. Ct.

for D.C., 542 U.S. 367, 387-88 (2004).

      Even worse, several of the alleged purposes fail to specifically identify what

legislation is being contemplated and how the President’s information will inform

that legislation. “The more detailed and substantial the evidence of Congress’s

legislative purpose, the better.” Mazars, 140 S. Ct. at 2035; see also Watkins, 354

U.S., at 201 (preferring such evidence over “vague” and “loosely worded” evidence of

Congress’s purpose). But there is nothing reasonable about the scope of the

Committee’s request, which lacks specificity by any measure and seeks every

presidential record and communication that could tenuously relate to events that

occurred on January 6, 2020, in Washington, D.C.4 In some instances there is no



      4 The Committee notes that each of the factors also weighs in favor of the

Committee under the Mazars lite framework. See Committee Br. at 35-38. The
request here is “undeniably broad,” and even broader than the Mazars request.
Mazars, 2021 WL 3602683 at *53 (“the risk of unnecessary intrusion into the
operation of the office of the President increases with a subpoena’s breadth and
intrusiveness. The more Congress can invade the personal sphere of a former
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reasonable connection between the records requested and the events of January 6th.

For example, the request asks for “[a]ll documents and communications within the

White House on January 6, 2021, relating in any way to . . . the January 6, 2021 rally

. . . Donald J. Trump” and over thirty other individuals and government agencies.

Compl., Exh. 1. Indeed, the request could reasonably be read to include every single

e-mail sent in the White House on that day or potentially every single private

communication from anyone working in the White House. Laster Decl. at ¶ 15

(stating NARA has “located several hundred thousand potentially responsive

records.”).

       Finally, the Committee’s argument that “[t]o be a valid legislative inquiry

there need be no predictable end result,” Committee Br. at 20, contradicts the

Supreme Court’s statement in Mazars that it is “impossible” to conclude that a

request is designed to advance a valid legislative purpose “unless Congress

adequately identifies its aims and explains why the President’s information will

advance its consideration of the possible legislation.” Mazars, 140 S. Ct. at 2035.

            2.      The Information Sought by the Committee is Obtainable
       Elsewhere

       The Committee further claims that it could not obtain the requested

information elsewhere, see Committee Br. at 22, but the Committee has mountains




President, the greater the leverage Congress would have on a sitting President.”)
(cleaned up). The Committee has failed to explain how the requested materials would
uniquely advance its legislative objectives, despite the request being broader than
any congressional request in modern history. Thus, the request fails the Mazars lite
test.

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of evidence regarding the events of January 6 that are perfectly adequate to inform

any proposed legislation. Additional, privileged records are not needed for the

Committee to legislate. The Committee has never explained why other sources of

information—outside of the requested records—could not “reasonably provide

Congress the information it needs in light of its particular legislative objective.”

Mazars, 140 S. Ct. at 2035-36. The Committee has failed to articulate a specific need

for the specific records requested. The Committee seeks to highlight its need for the

requested records because President Trump is a “case of one,” Committee Br. at 22,

but the Committee cannot ignore the Supreme Court’s admonition that the

President’s unique constitutional position means that Congress may not look to him

as a case study for general legislation. Mazars, 140 S. Ct. at 2035. The post-hoc

legislative purposes proffered by the Committee are simply pretextual and cannot

sustain the Committee’s broad request.

             3.    The Breadth of the Records Request is Boundless

      The Committee’s failed, nearly non-existent attempt to minimize the burden

on President Trump specifically and the institution of the Presidency generally under

the fourth Mazars factor should be rejected. Committee Br. at 37-38. The number of

records at issue here is enormous. Further, the limited time-period to review

potentially responsive documents adds to the burden of the request. These burdens

affect both President Trump as well as future presidents who may face similar

requests if this request is authorized by the courts. The Committee’s attempt to

downplay the future chilling effect its request will have on every President and his



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aides is similarly unhelpful. Regardless of President Biden’s determination,

permitting the expansive request here would harm future presidents and their close

aides by allowing invasive congressional fishing expeditions that will certainly chill

candid advice and harm the institution of the presidency. Nixon, 418 U.S. at 705

(“those who expect public dissemination of their remarks may well temper candor

with a concern for appearances and their own interests to the detriment of the

decisionmaking process.”).

      The NARA Defendants’ citation to select quotes and alleged evidence justifying

the Committee’s fishing expedition fails to sve the Committee’s overbroad request, as

both the FBI and Senate have confirmed that there was no coordinated effort,

including at the White House, to overturn the election on January 6. NARA Br. at 19-

20. Simple recitation of alleged facts with no evidence of wrongdoing, no proposed

legislative remedy, and no connection between the requested records and the

Committee’s overbroad request cannot justify the Committee’s onerous probe, and

certainly does not satisfy the Supreme Court’s Mazar’s framework.5

      Plaintiff does not complain because the Committee’s request might disclose

some nonexistent wrongdoing. Rather, the objection arises because of the request’s


      5 The Justice Department’s positions in a brief filed after the Supreme Court

remanded the Mazars case to the D.C. Circuit undermines the position it takes here.
In its post-Mazars brief, the Department panned similar arguments to the ones made
by the Committee. The Department called similar arguments “post hoc
rationalizations,” and argued that “the subpoena’s dragnet for nearly a decade of
financial records—most of which relate solely to the President’s actions as a private
citizen—is vastly overbroad.” See generally, Trump v. Mazars USA, LLP, 940 F.3d
710 (D.C. Cir. 2019), brief for United States as Amicus Curiae supporting petitioners,
2020 WL 563912 (Feb 3, 2020).

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abject failure to identify proposed legislation and why President Trump’s information

will advance such legislation, as well as evidence that the Committee’s request has a

prohibited law enforcement purpose and that its fundamental nature is plainly for

law enforcement purposes. Congress is not “a law enforcement or trial agency,” and

congressional investigations conducted “for the personal aggrandizement of the

investigators” or “to punish those investigated” are “indefensible.” Watkins, 354 U.S.

at 187 (cleaned up). The Committee’s breathless innuendo and conjecture cannot

sustain the broad scope of their request when there is no evidence of wrongdoing by

President Trump and those in the White House.

             4.    The Requests Exceed Congress’s Investigatory Powers

      The NARA Defendants also are adamant that the congressional request at

issue here passes constitutional muster.6 They claim that the request “plainly,”

“squarely,” and “indisputably,” falls within Congress’s investigatory powers. NARA

Br. at 19-20. Wrong again.

      This case involves a congressional request for presidential records, implicating

significant separation of powers concerns. See Mazars, 140 S. Ct. at 2035-36. The

NARA Defendants’ startling claim that “[t]he only relevant question is whether the

Select Committee is seeking ‘data to be used by the House or the Senate in coping

with a problem that falls within its legislative sphere,’” is misguided. NARA Br. at


      6 It is curious that Department of Justice has submitted a brief in this case on

behalf of the Archivist and NARA when those parties ostensibly have no interest in
whether the records at issue here are disclosed or not. One can only assume that
President Biden has endorsed the naked politicization of the Justice Department in
the service of his own political ends.

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19. At a minimum the Supreme Court’s test in Mazars, and not some toothless test

applicable to more general requests for information, provides the basis for

determining the validity of an alleged legislative purpose that is applicable to this

case.

              5.    The House Did Not Authorize the Committee’s Broad Requests

        The NARA Defendants opine that Congress has somehow authorized the

Committee to issue its broad request, which arguably include every digital

communication in the White House on January 6, 2021. NARA Br. at 27-30.

Congressional committees “must conform strictly to the resolution establishing

[their] investigatory powers” for any request to be statutorily “valid.” Exxon Corp. v.

FTC, 589 F.2d 582, 592 (D.C. Cir. 1978); see also Watkins, 354 U.S. at 201. Nothing

in the broad and murky language of H. Res 503 permits the Committee to promulgate

such a broad request. That charter does not cite a single piece of proposed legislation,

tie such legislation to the requested records, or explain the congressional need for

those records, as required by Mazars. 140 S. Ct. at 2031 (cleaned up). Moreover, the

NARA Defendants’ claim that the Committee is entitled to information that may be

“directly relevant to its investigation,” NARA Br. at 19, is legally incorrect for the

same reason: it ignores and fails the test laid out in Mazars. Id.

        Absence of an express statement authorizing or even contemplating the

Committee’s request here should be decisive. “Out of respect for the separation of

powers and the unique constitutional position of the President,” H. Res 503 should

not be interpreted to authorize requests for presidential records absent “an express



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statement by Congress.” Franklin v. Massachusetts, 505 U.S. 788, 801 (1992); see

also United States v. Bass, 404 U.S. 336, 349 (1971). Nothing authorizes the

Committee’s sweeping request here, and thus it should be invalidated.

      Without consulting President Trump, NARA prematurely described the

documents being withheld and subject to privilege. See NARA Br., Exh. 1. The

documents at issue include legal documents, call logs, schedules, and briefing

materials that are plainly privileged and irrelevant for purposes of legislating

regarding anti-terrorism laws, presidential transitions, or other legislation. The

Committee has never explained how the President’s schedule, call logs, legal

documents, or other briefing materials will assist it in developing legislation to

protect the United States or to ensure a peaceful transfer of power. The Committee

further fails to explain how any documents pertaining to political information dating

back to April would assist in developing such legislation. What the Committee

appears to seek is a “precise reconstruction of past events,” not because there are

“specific legislative decisions that cannot responsibly be made without” it, but simply

for the sake of the information itself. Senate Select Comm., 498 F.2d at 731-33. This

is plainly inappropriate and confirms that the congressional request at issue here

serves no valid legislative purpose.

      The NARA Defendants spend several pages of their brief arguing that

Congress has somehow authorized the Committee to issue its broad request, which

as discussed above includes a request that could be reasonably read to include every

digital communication in the White House on January 6, 2021. NARA Br. at 27-30.



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Nothing in H. Res 503 permits the Committee to promulgate such a broad request.

Absence of an express statement authorizing or even contemplating the Committee’s

request here should be decisive. “Out of respect for the separation of powers and the

unique constitutional position of the President,” H. Res 503 should not be interpreted

to authorize requests for presidential records absent “an express statement by

Congress.” Franklin v. Massachusetts, 505 U.S. 788, 801 (1992); see also United

States v. Bass, 404 U.S. 336, 349 (1971). Nothing authorizes the Committee’s

sweeping request here, and thus it should be invalidated.

      The NARA Defendants also argue for an unprecedented approach to records

production in this case, effectively implying that a third party should comply with an

unconstitutionally overbroad request and that President Trump can somehow

scrutinize the request post-compliance. NARA Br. at 29-30. This is not how the

Constitution works. Before any party complies with a request for records, Congress

must carry its burden to show that the request serves a valid legislative purpose

under applicable law, including the Constitution. Because the Committee’s request

here is overbroad and serves no valid legislative purpose, it should be invalidated,

and the Archivist and NARA should not be required to comply with the voided

request.




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      D. President Trump Has a Valid Claim of Privilege

      Executive privilege has always been a key component of the presidency.7

Indeed, presidents since George Washington have relied on confidentiality between

the President and his advisers.8 Like all communication privileges, however, it is only

effective if the confidentiality survives its original circumstances. Weakening

executive privilege by allowing it to expire with a president’s term of office makes no

more sense than allowing the attorney-client privilege to terminate at the end of a

representation or marital privilege to end at divorce.9 Instead, the presumption is

always in favor of protecting confidential communication from disclosure indefinitely.



      7 To be clear, not every form of executive privilege extends to former presidents.

For example, a former president retains the right to assert the presidential
communications privilege, but not the state secrets form of executive privilege. See
GSA, 433 U.S. at 447-49 (noting Nixon's concession that former presidents may not
assert the state-secrets privilege). But see Exec. Order no.13,233, 3 C.F.R. 815 (2002),
reprinted in 44 U.S.C. §2204 (2006) (declaring a right for former Presidents to assert
the state-secrets privilege), revoked by Exec. Order no. 13,489, 74 Fed. Reg. 4669
(Jan. 21, 2009). The former president is likely the best situated to know if disclosure
of documents from when they were in office will be against the public interest, while
the current president is more likely to know which state secrets need to be protected.
      8 Executive privilege has been utilized by presidents since the dawn of this

country. President George Washington resisted requests for information pertaining
to diplomatic correspondence, losses of troops and supplies on expeditions, and
commands given to subordinate officers. Miller Center, Executive Privilege: Mapping
an Extraordinary Power, at 35 http://web1.millercenter.org/reports/mc-executive-
privilege.pdf. President Jefferson refused to provide documents or information in
response to both congressional and judicial requests during the investigation and
trial of Aaron Burr for treason. Id. (citing 16 Annals of Cong., 1806-7: 336). President
Eisenhower directed his staff not to testify during the McCarthy hearings or they
would no longer have their jobs. Id. at 36.
      9 Should an attorney or a spouse be freed from their obligation to secrecy at the

end of the relationship, the privilege would in essence be meaningless as the
protection would be short-lived and come back to damage the speaker as soon as the
relationship is ended. The nature of a communication privilege to engender free
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       The Parties agree; it is well settled that executive privilege survives the

conclusion of a President’s term of office. Nixon v. GSA, 433 U.S. at 439. Yet, the

Congressional Defendants describe President Trump’s interest as “generalized and

diminished.” Committee Br. at 27 and claim that executive privilege exists simply “to

protect the Executive Branch.” Id. at 2. In reality, it exists to protect the people of the

United States who have an interest in a well-functioning government. See Nixon v.

GSA, 433 U.S. at 447-49 (executive privilege “is not for the benefit of the President

as an individual, but for the benefit of the Republic.”)

       The Government joins in by taking a curious position, arguing that the

incumbent president’s position regarding privilege “is accorded the greater weight.”

NARA Br. at 31. They ignore, however, the Court’s admonition in GSA:

       Nevertheless, we think that the Solicitor General states the sounder
       view and we adopt it: This Court held in United States v. Nixon that the
       privilege    is   necessary     to    provide the confidentiality required
       for the President's conduct of office. Unless he can give his advisers
       some assurance of confidentiality, a President could not expect to
       receive the full and frank submissions of facts and opinions upon which
       effective discharge    of   his    duties depends. The        confidentiality
       necessary to this exchange cannot be measured by the few months or
       years between the submission of the information and the end of the
       President's tenure; the privilege is not for the benefit of the President as
       an individual, but for the benefit of the Republic. Therefore
       the privilege survives the individual President's tenure.




communication must survive in order to truly encourage frank and free
communication.

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Id. (cleaned up). Notably, this argument was made by the Department of Justice and

adopted by the Supreme Court. The Government was correct then and it need not run

from that victory now.

      True, executive privilege is qualified, not absolute. For that matter, neither is

any other privilege. But the rights of former presidents are not as easily tossed aside

as Defendants contend. And the categories of documents described in the

Government’s declaration supports an assertion of privilege here.

      The Laster Declaration, DCD No. 21.1, at ¶¶ 30-35, explains that the Biden

Administration is attempting to waive privilege regarding, among other things, legal

documents, drafts of speeches, correspondence, remarks, presidential diaries,

schedules, and call logs. GOV Br. at 33. These are precisely the type of documents

that the privilege is meant to protect. The current White House’s blanket waiver of

these documents is indicative of a political motive that should be corrected by this

Court’s review.

      The Defendants’ contention that the January 6 riot is a unique situation that

justifies disclosure distorts the foundations of the executive privilege and turns the

logic supporting it on its head. True, the president’s executive authority expires with

his term of office, yet the need of all presidents to receive candid and frank advice to

fulfill their duties is unending. Moreover, presidents are most in need of full and

frank advice in times of crisis. Often a crisis, whether at home or abroad, will be

politically controversial. It is that immediate, honest, and candid advice is perhaps

most important. In such scenarios presidents and advisers should not have to worry



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that advice given, and communications exchanged, will be disclosed for political

purposes if their political advisories win the next election. The chilling effect would

be substantial, especially as these requests contain no appropriate limiting principle.

       While the various interests must be weighed, it should be done thoroughly and

intentionally. Importantly, that includes providing President Trump and his counsel

with sufficient time to review the documents at issue. Moreover, it is critical that they

be allowed to review the documents in full context before a privilege decision is

finalized.

       E. President Trump is Entitled to Full Judicial Review of His Privileged
          Records Prior to Production to the Committee

       Because the Supreme Court established the constitutional right of former

presidents to challenge privilege waivers by their successors, See GSA, 433 at 447-

55, no statutory or regulatory scheme can compromise the right of a former president

to judicially challenge an attempted waiver by his successor. Indeed, the

Government correctly points out that PRA neither expands nor contracts the

constitutionally rooted executive privilege. NARA Br. at. 38 (citing 44 U.S.C. §

2204(c)(2)). The incumbent does not have a blank check to waive the privilege of

former presidents.

       This judicial check on waiver ensures the predecessor a due process safeguard

against the type of politically motivated privilege waivers by an incumbent president

present here. Much to the chagrin of Defendants, that review does not provide for a

broad rubber stamp of the incumbent’s waiver. Instead, the former President enjoys

the right to a meaningful review of the privilege asserted by the former President

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over each specific document and communication. Any reading of a statutory or

regulatory scheme to weaken that right would be unconstitutional.

      President Trump acted in good faith in reviewing responsive documents and

identifying only a subset as being privileged. President Biden, however, acted

broadly, deciding to waive privilege to all documents identified. President Trump

acted consistently with custom and practice while his successor took the

unprecedented step of attempting a blanket waiver of privilege.

      Thorough judicial review of President Biden’s waiver determination, over

President Trump’s conflicting determinations, is a key aspect of that statutory and

constitutional scheme. President Trump’s “right to be heard” under Nixon requires

far more than a cursory review of broad categories advocated by the Government.

Instead, before the privilege is irrevocably waived, this court should review the

documents in camera to be produced. See Nixon, 418 U.S. at 714.

      Before the PRA was adopted, the law was clear: executive privilege survived

the conclusion of a President’s term of office, only to be invaded upon a judicial

determination that disclosure is warranted after weighing the interests of the parties

seeking disclosure with the need for and due consideration of confidentiality. See

GSA, 433 at 447-55. The Defendants, however, invite this Court to read the PRA and

its regulatory counterparts broadly, imparting more discretion on an incumbent’s

decision to waive his predecessor’s privilege than the Constitution permits. Indeed,

when the GSA Court allowed a production of a former President’s records to career

archivists, it was with the express expectation that the government officials would

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maintain the confidentiality of the records. 433 U.S. at 455. Likewise, the Nixon

Court allowed a district court to conduct a review of presidential records only on

condition that the documents were reviewed in camera. 418 U.S. 706. Here, President

Biden seeks to produce the privileged documents of his rival to a highly partisan

congressional committee, where continued confidentiality will be impossible.

         The level of deference sought by Defendants in the adjudication of this

privilege invasion is unsupported by case law, the PRA, the relevant regulations, or

E.O. 13489. Indeed, if any statute, regulation, or order was read so broadly as to give

the type of unfettered discretion to the incumbent President sought by Defendants,

it would render the scheme unconstitutional. This Court need not take the bait.

Instead, the Court should employ the avoidance cannon, Nw. Austin Mun. Util. Dist.

No. One v. Holder, 557 U.S. 193, 205 (2009), and interpret § 2204(c)(2) as it was

intended to be read, as protecting the confidentiality of President Trump’s privileged

records unless the Court finds that any specific records should be produced to the

Committee after employing the constitutional balancing test explained in Nixon and

GSA and upon a careful in camera review of the relevant document.

   II.      The Equities Heavily Favor Injunctive Relief; Plaintiff Will Suffer
            Irreparable Harm Absent an Injunction

         The Committee claims the President cannot show that releasing the records

would irreparably injure the Executive Branch; yet the very notion that creating such

a precedent—that a sitting President can release any and all materials of his

predecessor at a whim—would undoubtedly shake the foundations of presidential

communications. Disclosure of a president’s records by a sitting president of the

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opposing party would harm all future presidents. Moreover, courts in this district

have recognized that the disclosure of privileged information can constitute an

irreparable harm because such information, once disclosed, loses its confidential and

privileged nature. See Council on American-Islamic Relations v. Gaubatz, 667 F.

Supp. 2d 67, 76 (D.D.C. 2009). If such material is disclosed before the Court has an

opportunity to hear Plaintiff and to determine the merits of his claim, the very rights

Plaintiff seeks to protect will have been destroyed. See In re Sealed Case 98-3077,

151 F.3d 1059, 1065 (D.C. Cir. 1998) (“In this respect, petitioner is asserting

something akin to a privilege insofar as ‘once [the] putatively protected material is

disclosed, the very right sought to be protected has been destroyed.’”) (quoting In re

Ford Motor Co., 110 F.3d 954, 963 (3rd Cir. 1997)).

      If this Court fails to grant a preliminary injunction before considering the

merits, there is no going back. “Once the documents are surrendered,” in other words,

“confidentiality will be lost for all time. The status quo could never be restored.”

Providence Journal Co. v. FBI, 595 F.2d 889, 890 (1st Cir. 1979); see PepsiCo, Inc. v.

Redmond, 1996 WL 3965, at *30 (N.D. Ill. 1996) (“[J]ust as it is impossible to unring

a bell, once disclosed, . . . confidential information lose their secrecy forever”); Metro.

Life Ins. Co. v. Usery, 426 F. Supp. 150, 172 (D.D.C. 1976) (“Once disclosed, such

information would lose its confidentiality forever.”).


                                     CONCLUSION

      For the foregoing reasons, the motion for a preliminary injunction should be

granted.

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Dated: November 2, 2021                       Respectfully submitted,

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                           CERTIFICATE OF SERVICE

      I certify that a copy of the foregoing was filed with the Clerk of the Court using

the Court’s CM/ECF system, which will send a copy to all counsel of record.

Dated: November 2, 2021                              /s/ Jesse R. Binnall
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